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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT


 EDDIE GRANT, JR., JENNIFER HAMILTON;                      CIV. NO. 3:22-cv-01223-JBA
 MICHAEL STIEFEL; CONNECTICUT
 CITIZENS DEFENSE LEAGUE, INC.; AND
 SECOND AMENDMENT FOUNDATION, INC.,                                JULY 5, 2023

         Plaintiffs,

 v.                                                        MEMORANDUM OF LAW
                                                              IN SUPPORT OF
 EDWARD M. LAMONT, JR., in his official capacity;
 JAMES ROVELLA, in his official capacity; PATRICK          PLAINTIFFS’ AMENDED
 GRIFFIN, in his official capacity; MARGARET E.               MOTION FOR A
 KELLY, in her official capacity; DAVID R.                     PRELIMINARY
 APPLEGATE, in his official capacity; JOSEPH T.                INJUNCTION
 CORRADINO, in his official capacity;
 SHARMESE L. WALCOTT, in her official capacity;
 DAVID R. SHANNON, in his official capacity;
 MICHAEL A. GAILOR, in his official capacity;
 CHRISTIAN WATSON, in his official capacity;
 JOHN P. DOYLE, JR., in his official capacity, PAUL
 J. NARDUCCI, in his official capacity; PAUL J.
 FERENCEK, in his official capacity; MATTHEW C.
 GEDANSKY, in his official capacity, MAUREEN
 PLATT, in her official capacity; ANNE F.
 MAHONEY, in her official capacity,

         Defendants.


      The Plaintiffs respectfully submit this Memorandum of Law in support of their

Amended Motion for a Preliminary Injunction.

      The Plaintiffs filed this action on September 29, 2022 seeking a declaratory judgment

that Connecticut’s “assault weapon” ban is unconstitutional, and seeking a permanent

injunction against enforcement of that ban. On Tuesday, January 31, 2023, the United States

Justice Department, through the Bureau of Alcohol, Tobacco, Firearms, and Explosives


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(“ATF”), published a new rule in the Federal Register, effective immediately, redesignating a

class of firearms known as “any other firearm” or simply “others” as either “rifles” or “short

barreled rifles” depending on the barrel length. “Others” are called such because they were

previously not considered either “rifles,” “pistols,” or “shotguns.” For most people in the

United States who own “other” firearms with short barrels, the new ATF rule required that

they register the firearms with the ATF, or replace the short barrel with a barrel of sixteen

inches or greater. Those with “others” with barrels of sixteen inches or greater need not do

anything in response to the rule.

        The Plaintiffs sought emergency injunctive relief in this action because they maintained

that the new ATF rule’s redesignation of “others” pushed them within the category of the

“assault weapons” banned in Connecticut. The Court denied the emergency relief sought by

the Plaintiffs.

        Connecticut, however, took its own action to ban “others,” enacting Conn. Public Act

No. 23-53. Section 23 of Public Act No. 23-53 became effective immediately, and categorically

reclassified firearms previously known as merely “others” to be “assault weapons” under

Connecticut law. The law also prohibits the Plaintiffs and similarly situated members of

Plaintiff Connecticut Citizens Defense League, Inc. (“CCDL”) and Second Amendment

Foundation Inc. (“SAF”), as well as members of the public from acquiring new “others” on

the pain of criminal prosecution and punishment.

        Connecticut’s scheme for defining “assault weapons” and prohibiting their purchase

and possession deprives the individual Plaintiffs, members of Plaintiffs CCDL and SAF, and

similarly situated Connecticut citizens of their constitutional right to purchase and possess


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firearms that are in common use for lawful purposes in Connecticut and throughout the

United States. Thus, the Plaintiffs seek a preliminary injunction enjoining the Defendants and

their subordinates from enforcing Connecticut’s “assault weapons” ban.

                                 FACTUAL BACKGROUND

I.     Connecticut’s Criminalization of “Assault Weapons”

       Prior to 1993, Connecticut did not prohibit the purchase, sale, or possession of certain

modern sporting rifles that it now classifies as “assault weapons.” In 1993, it changed course,

enacting legislation that banned “assault weapons” and criminalized their possession. 1993

Conn. Pub. Acts 93-306, § 1(a); see also New York State Rifle and Pistol Ass’n v. Cuomo, 804 F.3d

242, 248 (2d Cir. 2015) (discussing the history of Connecticut’s assault weapons ban). The

1993 ban employed a two-track approach – banning 67 specifically named semiautomatic

firearm models and firearms “capable of fully automatic, semiautomatic or burst fire at the

option of the user.” Cuomo, 804 F.3d at 248.

       A year after Pub. Acts 93-306, the United States Congress enacted the Violent Crime

Control and Law Enforcement Act of 1994, which purported to restrict the manufacture,

transfer, and possession of certain “semiautomatic assault weapons.” Id. The federal ban

followed Connecticut’s two-track approach to a limited extent, banning 18 specific firearms

but introducing what became known as the “two-feature test.” Id. The “two-feature test”

banned “any semiautomatic firearm that contained at least two listed military-style features,

including a telescoping stock, a conspicuously protruding pistol grip, a bayonet mount, a flash

suppressor, and a grenade launcher.” Id. The federal ban, however, contained a sunset clause

that caused it to expire in 2004. Id.


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       The approaching expiration of the federal “assault weapons” ban inspired Connecticut

to adopt its own equivalent of the federal ban in 2001, embracing the “two feature test” for

the first time. 2001 Conn. Pub. Acts 01–130, § 1. In 2013, Connecticut expanded its

criminalization of “assault weapons” broadly to create the statutory schem that the Plaintiffs

now challenge - Conn. Gen. Stat. §§ 53-202a-f and Conn. Gen. Stat. §§ 53-202h-j. 1

       The law makes the possession of an “assault weapon” a Class D felony and prescribes

a punishment of a mandatory one-year sentence of incarceration and a maximum of five years’

incarceration. Conn. Gen. Stat. § 53-202c(a); see also Conn. Gen. Stat. § 53a-35a(8). It also

makes the distribution, transportation, importation, stocking for sale, advertisement for sale,

sale, or gifting of an “assault weapon” a Class C felony, which carries a mandatory two-year

sentence of incarceration and a maximum term of ten years’ incarceration. Conn. Gen. Stat. §

53-202b(a)(1); see also Conn. Gen. Stat. § 53a-35a(7).

       There is a limited “grandfathering” provision to the law, which allows individuals who

lawfully possessed “assault weapons” on or prior to April 3, 2013 to continue to possess them

if they proved previous lawful ownership to the Connecticut State Police, applied to the

Connecticut State Police for a certificate of possession of the “assault weapons” by January 1,

2014, and have actually received the certificate. Conn. Gen. Stat. § 53-202d(a)(2). The

“grandfathered” possession, however, is limited to narrowly defined places and for narrowly

defined purposes, which do not include self-defense outside of a home. Conn. Gen. Stat. §

53-202d(f).



1 Conn. Gen. Stat. § 53-202g relates to reporting the loss or theft of a firearm and is not being

challenged in this action.
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       Connecticut’s two-track approach to defining “assault weapons” for purposes of

criminalizing their possession, sale, and transfer first criminalizes the possession, sale, or

transfer of approximately 160 specifically named firearm models in four statutory subsections.

See generally Conn. Gen. Stat. § 53-202a. Second, it criminalizes the possession, sale, and transfer

of all firearms that have certain features, which are classified in eleven categories. Conn. Gen.

Stat. § 53-202a; see Dkt. No. 13 – Amended Complaint.

       Thus, the statutory scheme criminalizes countless ubiquitous semiautomatic firearms

that are widely popular and commonly used for lawful purposes in Connecticut and

throughout the United States. Additionally, a violation of the ban on “assault weapons”

saddles the average citizen with a felony conviction, rendering him/her ineligible to ever

lawfully possess a firearm again in his/her life. See e.g., 18 U.S.C. § 922(g)(1).

II.    Connecticut’s “Others”

       Connecticut supervises the commercial sale of firearms through the SLFU. Since 2013,

the SLFU has routinely approved the commercial sale of “others.” A firearm is considered an

“other” because it does not meet the statutory definition of either “rifle,” “shotgun,” or

“pistol” under Connecticut law. See Conn Gen Stat. Sec. 53a-3(16)-(18).

       Despite being legal in Connecticut, “others” have drawn political ire because of their

visual similarities to “assault rifles.” The key distinction, however, is that “others” often use

“pistol braces” 2 which gives them a similar visual appearance to “assault rifles.” “Others,”

however, have not previously been categorized as “rifles” or “assault weapons” under


2 “Pistol braces” are firearm accessories that usually attach to a person’s forearm to provide

greater stability. While their appearance resembles a shoulder stock, they are not intended to
act as shoulder stocks.
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Connecticut or federal law as shown by SLFU’s systematic approval of their sale in

Connecticut over the past decade.

       On January 26, 2023, Defendant Lamont issued a press release indicating his intent to

criminalize the possession of “others” in Connecticut. See Exhibit A – Governor Lamont

Announces 2023 Legislative Proposal, p. 2. 3

III.   The Department of Justice’s “Pistol Brace” Rule

       After Congress defined what a “rifle” is in 18 U.S.C. § 921(a)(7), the Department of

Justice included its statutory definition as a matter of course in 27 C.F.R. 479.11. On January

31, 2023, it amended 27 C.F.R. 479.11’s definition of a “rifle” by publishing a final rule in the

Federal Register. See Exhibit H - Factoring Criteria for Firearms With Attached

“Stabilizing Braces.” This new final rule changes the definition of “rifle” to include “a

weapon that is equipped with an accessory component, or other rearward attachment (e.g., a

‘stabilizing brace’) that provides surface area that allows the weapon to be fired from the

shoulder....” Id. at p. 92. In particular, the final rule specifically factors “whether the surface

area that allows the weapon to be fired from the shoulder is created by a buffer tube, receiver

extension, or other rearward attachment that is necessary for the cycle of operations … .” Id.

       The operative effect of this final rule was to immediately classify most Connecticut

“others” as either “rifles” or “short-barreled rifles,” which, in turn, renders them illegal under

Connecticut’s “assault weapons” ban. While in most other states, a person in possession of an



3     Retrieved    from:    https://portal.ct.gov/Office-of-the-Governor/News/Press-
Releases/2023/01-2023/Governor-Lamont-Announces-2023-Legislative-Proposal-on-Mass-
Shootings#:~:text=So%2Dcalled%20%E2%80%9Cother%E2%80%9D%20weapons,do%2
0not%20include%20all%20weapons.
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“other” with a stabilizing brace would be legally entitled to retain the firearm as a “rifle” or,

by registering it with ATF as a “short barreled rifle,” in Connecticut, both designations bring

the “other” into the category of banned “assault weapon.”

       During an online public information session the ATF gave on January 31, 2023, the

Department of Justice confirmed that continued possession of “others” was likely in violation

of Connecticut state law. During that information session, members of the public directly

asked the ATF officials if they could follow the same steps as people from other states to

register their “others” as “short barreled rifles” under the final rule so they can keep them.

Exhibit C – Affidavit of Holly Sullivan, ¶ 12. ATF officials responded that ATF would not

be accepting registrations from Connecticut residents because the ATF took the position that

their “others” were now illegal “assault weapons” under Connecticut law. Id. at ¶ 14.

Connecticut officials have yet to weigh in. Id. at ¶ 14.

IV.    Connecticut Criminalizes “Others”

       Connecticut made good on Defendant Lamont’s expressed intent to criminalize

“others” by including them in Connecticut’s definition of “assault weapons.” On June 6, 2023,

Defendant Lamont signed Conn. Public Act No. 23-53 – a comprehensive gun control bill. It

contained a provision that classified as an assault weapon, “any semiautomatic firearm other

than a pistol, revolver, rifle, or shotgun” having one of the following characteristics:

       i.      Any grip of the weapon including a pistol grip, a thumbhole stock, or
               any other stock, the use of which would allow an individual to grip the
               weapon, resulting in any finger on the trigger hand in addition to the
               trigger finger being directly below any portion of the action of the
               weapon when firing;
       ii.     An ability to accept a detachable ammunition magazine that attaches at
               some location outside of the pistol grip;
       iii.    A fixed magazine with the ability to accept more than ten rounds;

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       iv.     A flash suppressor or silencer, or a threaded barrel capable of accepting
               a flash suppressor or silencer;
       v.      A shroud that is attached to, or partially or completely encircles, the
               barrel and that permits the shooter to fire the firearm without being
               burned, except a slide that encloses the barrel;
       vi.     A second hand grip; or
       vii.    An arm brace or other stabilizing brace that could allow such firearm to
               be fired from the shoulder, with or without a strap designed to attach to
               an individual’s arm.

See Exhibit I - Conn. Public Act No. § 23-53, § 23, pp. 48-49.

       This new statutory scheme criminalizes countless ubiquitous semiautomatic firearms

that are widely popular and commonly used for lawful purposes among Connecticut residents.

Additionally, as noted previously, a violation of the new ban on “others” saddles the average

citizen with a felony conviction, rendering him/her ineligible to ever lawfully possess a firearm

again in his/her life. See e.g., 18 U.S.C. § 922(g)(1).

V.     Plaintiff Eddie W. Grant, Jr.

       Plaintiff Eddie Grant, Jr. is a retired Connecticut Department of Corrections officer

who maintains his permanent residence in Meriden, Connecticut. Exhibit D – Affidavit of

Eddie W. Grant, Jr., ¶ 3. He has held a Connecticut pistol permit for over 30 years, and he

meets all of the legal qualifications under federal and state law to acquire and possess firearms,

ammunition, and magazines. Id. at ¶ 5. He is also a member and supporter of both the

Connecticut Citizens Defense League, Inc. (“CCDL”) and the Second Amendment

Foundation, Inc. (“SAF”). Id. at ¶ 6.

       Grant served as a uniformed Corrections officer for twenty-one years, retiring in 2011.

Id. at ¶ 7. During his service, the Department of Corrections assigned him to facilities such as

Cheshire Correctional Institution (a Level 4 facility); Manson Youth Institution (a Level 4


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facility); Carl Robinson Correctional Institution (a Level 3 facility); and Webster Correctional

Institution (a Level 2 facility). 4 Id. at ¶ 7. Grant’s responsibilities included conducting armed

transports of high-risk inmates and acting as an armed Perimeter Officer. Id. at ¶ 8. These

responsibilities required the State of Connecticut to train Grant on the safe and effective use

of AR-15-platform firearms, which are currently banned by the statutes at issue in this lawsuit.

Id. at ¶ 8. After receiving his training, the State of Connecticut required Grant to qualify

annually as a safe and effective user of AR-15-platform firearms. Id. at ¶ 8. Grant repeatedly

qualified as a safe and effective user during his service with the Department of Corrections,

and he carried and used AR-15-platform firearms during his service as a corrections officer.

Id. at ¶ 8.

        Grant seeks to lawfully purchase and possess an AR-15-platform firearm for defensive

purposes. Id. at ¶ 9. Conn. Gen. Stat. §§ 53-202a and § 53-202c, however, prohibit him from

purchasing or possessing an AR-15-platform firearm.

        Grant’s interest in lawfully purchasing and possessing an AR-15-platform firearm is no

armchair interest. As an African-American, Grant is acutely conscious of the struggle that his

parents, specifically his mother, faced growing up in 1950s-60s. Id. at ¶ 10. During the struggle

for equality and civil rights in the Deep South, Grant’s mother witnessed church burnings, and

the racially motivated killings experienced by her family and friends were a concrete part of



4 A facility’s level designates what its security level is. Connecticut uses a five-level scheme

with Level 1 being reserved for community release programs, Level 2 – minimum security,
Level 3 – medium security, Level 4 – high security, and Level 5 – maximum security. See Conn.
Gen. Assembly – Legislative Program Review and Investigations Committee, Report: Factors
Impacting   Prison    Overcrowding,     p.    16      (Dec.     2000).   Retrieved      from:
https://www.cga.ct.gov/pri/archives/fipo/20001201FINAL_Full.pdf
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her life. Id. at ¶ 10. Grant’s understanding that these racially motivated attacks were repelled

in large part by the private ownership of effective defensive firearms as African-Americans

bravely defended their lives and their right to equality under the rights guaranteed by the

Constitution. Id. at ¶ 10.

       In Grant’s view, Conn. Gen. Stat. § 53-202a-c gives criminals and attackers a strong

tactical advantage over him. Id. at ¶ 10. Criminals do not follow gun restrictions, placing him

at a disadvantage to someone who possesses and carries any type of so-called “assault weapon”

for malevolent purposes. As a law-abiding citizen, Grant wants, and intends, to lawfully

purchase, possess, and defensively carry one or more of the firearms banned by Conn. Gen.

Stat. §§ 53-202a and 53-202c. Id. at ¶ 12.

       Grant also owns firearms that are Connecticut “others.” Id. at ¶ 15. He intends to

acquire more Connecticut “others,” and he has taken specific steps to do so. On June 30,

2023, Grant contacted Lock N’ Load Firearms, LLC in Plantsville, Connecticut to inquire

whether he could purchase either a .300 Blackout in a Connecticut “other” configuration –

specifically with pistol and fore grips. Exhibit J – Supplemental Declaration of Eddie

Grant, Jr., ¶¶ 5-6. Lock N’ Load Firearms, LLC declined to sell him such a firearm because

doing so would now be illegal under Connecticut law. Id. at ¶ 7. Grant still intends to acquire

a.300 Blackout in a Connecticut “other” configuration and would like to do so lawfully without

fear of criminal prosecution. Id. at ¶ 8.

VI.    Plaintiff Jennifer Hamilton

       Plaintiff Jennifer Hamilton is a Nuisance Wildlife Control Operator trained and

licensed by the Connecticut Department of Energy and Environmental Protection and a


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firearms instructor who teaches initial pistol permit classes, personal defense classes, and

tactical firearms use classes. Exhibit E – Affidavit of Jennifer Hamilton, ¶ 8. She maintains

her permanent residence in Enfield, Connecticut, and she holds pistol permits from

Connecticut and Massachusetts. Id. at ¶¶ 3, 5. She meets all federal and state requirements to

lawfully acquire and possess firearms, ammunition, and magazines. Id. at ¶ 5. She is also a

member and supporter of CCDL and SAF. Id. at ¶ 6.

       Hamilton is a petite, 5’-2” tall woman who relies on defensive firearms instead of bodily

strength to protect herself and her family from threats and attack. Id. at ¶ 7. Because of her

physical size, Hamilton prefers firearms that are smaller and more customizable to her physical

build. Id. at ¶¶ 9-10. Thus, she seeks, and intends, to lawfully purchase one or more firearms

prohibited in Conn. Gen. Stat. § 53-202a – likely an AR-15-platform firearm – because of their

adaptability and effectiveness for defensive purposes. Id. at ¶ 12. Additionally, Hamilton seeks

to purchase such a firearm with a telescopic stock in order to adjust the firearm’s length of

pull to fit her specific body type and size, which will, in turn, give her greater control over the

firearm and improve her accuracy with it. Id. at ¶ 10.

       Hamilton’s interest in purchasing, possessing, and carrying an AR-15-platform firearm

is not abstract. She has been the victim of domestic violence, and she depends on effective

defensive firearms to protect herself and her family from further attacks. Id. at ¶ 7.

       Conn. Gen. Stat. §§ 53-202a and 53-202c prohibit her from purchasing either an AR-

15-platform firearm or a similar rifle with a telescopic stock because they classify both as being

“assault weapons.” In sum, Connecticut’s “assault weapon” ban prohibits Hamilton from




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purchasing, possessing, or carrying a firearm that she can operate more safely, comfortably,

and effectively.

       Hamilton also owns firearms that are Connecticut “others.” Id. at ¶ 15. She intends to

acquire more Connecticut “others,” and she has taken specific steps to do so. On July 5, 2023,

she contacted Tobacco Valley Gun in East Windsor, Connecticut to inquire whether she could

purchase a JP Firearm Corp. “.300 Blackout” with a 12.5 inch barrel, a pistol grip, and a fore

grip in a Connecticut “other” configuration. Exhibit K – Supplemental Declaration of

Jennifer Hamilton, ¶¶ 5-6. Tobacco Valley Gun declined to sell her this “other” because

doing so would now be illegal under Connecticut law. Id. at ¶ 7. Hamilton still intends to

acquire a JP Firearm Corp. .300 Blackout with a 12.5 inch barrel, a pistol grip, and a fore grip

in a Connecticut “other” configuration, and she wants the ability to do so lawfully without

fear of criminal prosecution. Id. at ¶ 8.

VII.   Plaintiff Michael Stiefel

       Plaintiff Michael Stiefel is a retired Connecticut Department of Corrections officer.

Exhibit F – Affidavit of Michael Stiefel, ¶ 10. He has held a Connecticut pistol permit for

over thirty years, and he meets all of the state and federal requirements to lawfully acquire,

possess, and bear firearms, ammunition, and magazines. Id. at ¶ 5. Stiefel is a member and

supporter of CCDL and SAF.

       Stiefel served as a uniformed Department of Corrections Officer for approximately 20

years, retiring in 2010. Id. at ¶ 7. During his career with the Department of Corrections, he

was responsible for conducting armed transports of high-risk inmates and served as an armed

perimeter officer. Id. at ¶ 7. Like Plaintiff Grant, these responsibilities required the State of


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Connecticut to train Stiefel on the safe and effective use of AR-15-platform firearms, which

are currently banned by the statutes at issue in this lawsuit. Id. at ¶ 8. After receiving his

training, the State of Connecticut required Stiefel to qualify annually as a safe and effective

user of AR-15-platform firearms. Id. at ¶ 8.

       Stiefel seeks, and intends, to lawfully purchase and possess an AR-15-platform firearm

for defensive purposes. Id. at ¶ 12. Connecticut’s “assault weapons” ban, however, prohibits

him from purchasing or possessing an AR-15-platform firearm.

       Stiefel also currently owns firearms that have been previously classified as “others” in

Connecticut. Id. at ¶ 15. He intends to acquire more Connecticut “others,” and he has taken

specific steps to do so. On July 3, 2023, he contacted Swamp Yankee Arms, LLC to discuss

whether they could build him a custom .300 Blackout in a Connecticut “other” configuration

– specifically with a pistol grip and a fore grip. Exhibit L – Supplemental Declaration of

Michael Stiefel, ¶¶ 5-6. Swamp Yankee Arms, LLC, however, declined to build or sell him

a .300 Blackout in a Connecticut “other” configuration because doing so would be illegal under

Connecticut law. Id. at ¶ 7. Stiefel still intends to acquire a custom .300 Blackout in a

Connecticut “other” configuration and would like to do so lawfully without fear of criminal

prosecution. Id. at ¶ 8.

                                   LEGAL STANDARD

       To obtain a preliminary injunction under Fed. R. Civ. P. 65, the moving party must

establish “(a) irreparable harm and (b) either (1) likelihood of success on the merits or (2)

sufficiently serious questions going to the merits to make them a fair ground for litigation and

a balance of hardships tipping decidedly toward the party requesting the preliminary relief.”


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Citigroup Glob. Markets, Inc. v. VCG Special Opportunities Master Fund Ltd., 598 F.3d 30, 35 (2d

Cir. 2010) (internal quotation marks and citation omitted). Additionally, the moving party must

show “that the public interest would not be disserved by the issuance of [the] injunction.”

Salinger v. Colting, 607 F.3d 68, 79-80 (2d Cir. 2010) (internal quotation marks omitted). To

show irreparable harm, the Plaintiffs must show that, absent a preliminary injunction, they will

“suffer an injury that is neither remote nor speculative, but actual and imminent, and one that

cannot be remedied if a court waits until the end of trial to resolve the harm.” Faiveley Transp.

Malmo AB v. Wabtec Corp., 559 F.3d 110, 118 (2d Cir. 2009). “Whether there is an adequate

remedy at law, such as an award of money damages, injunctions are unavailable except in

extraordinary circumstances.” Id. at 118-19. Courts, however, will presume that a movant has

established irreparable harm when the movant’s claim involves the alleged deprivation of a

constitutional right. Am. Civil Liberties Union v. Clapper, 804 F.3d 617, 622 (2d Cir. 2015).

                                         ARGUMENT

I.     Second Circuit Precedent Entitles the Plaintiffs to a Presumption of Irreparable
       Harm. In the Alternative, the Plaintiffs Satisfy the Test for Irreparable Harm.

       There is no question that the Plaintiffs are entitled to the presumption of irreparable

harm. They claim a constitutional right to keep and bear modern sporting arms and “others”

for the purposes of self-defense and allege that the challenged statutory scheme banning

“assault weapons” and Conn. Public Act No. 23-53, § 23 bringing “others” within that scheme

deprives the Plaintiffs of their Second Amendment right to obtain, keep, and bear arms in

common usage for lawful purposes, including self-defense.

       The Supreme Court has twice established that the Second Amendment’s text protects

the right to keep and bear arms in case of confrontation. New York State Rifle & Pistol

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Association, Inc. v. Bruen, 142 S.Ct. 2111, 2127 (Jun. 23, 2022); District of Columbia v. Heller, 554

U.S. 570, 592 (2008). Bruen solidifies Heller’s holding that the Second Amendment’s protections

are not limited “only to those arms in existence in the 18th century.” Bruen, 142 S.Ct. at 2132

(quoting Heller, 554 U.S. at 582) (internal quotation marks and alterations omitted). Instead,

“the Second Amendment extends, prima facie, to all instruments that constitute bearable arms,

even those that were not in existence at the time of the founding.” Id. at 2132 (quoting Heller,

554 U.S. at 582) (internal quotation marks omitted); see also Caetano v. Massachusetts, 577 U.S.

411 (2016) (holding that the Second Amendment, prima facie, protects stun guns). Thus, the

Second Amendment presumptively protects the Plaintiffs’ right to possess and bear modern

sporting arms – including AR-15 platform firearms – and Connecticut “others” unless the

Defendants “affirmatively prove that [their] firearms regulation is part of the historical

tradition that delimits the outer bounds of the right to keep and bear arms.” Bruen, 142 S.Ct.

at 2127.

       The Defendants have never before carried their burden under the historical analysis

mandated by Bruen, and they cannot do so now. Their enforcement of Connecticut’s

criminalization of the possession, carrying, and sale of modern sporting firearms deprives the

Plaintiffs of their constitutional right to keep and bear “bearable arms.” Bruen at 2132. Thus,

the Plaintiffs are entitled to a presumption of irreparable harm based on their alleged

deprivation of their constitutional rights. Clapper, 804 F.3d at 622.

       The Plaintiffs clearly meet the standard for preliminary relief notwithstanding the

presumption of irreparable harm. The Plaintiffs seek to obtain, possess, and bear modern

sporting firearms for the purpose of self-defense. Every day that passes that they cannot do


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so without facing criminal consequences is an injury that money cannot remedy. In fact, the

Plaintiffs seek no monetary remedy, nor is such a remedy likely available to them. Declaratory

and injunctive relief is their only available remedy. They should not be required to wait for it,

especially in a case where the Defendants bear the burden of proving the constitutionality of

their conduct, a burden the Defendants simply cannot meet.

II.    The Plaintiffs Show a Likelihood of Success on the Merits, and Raise Serious
       Questions Going to the Merits Sufficient to Make a Fair Ground for Litigation.

       Under the Supreme Court’s newly clarified standard for reviewing claims of Second

Amendment violations, the Plaintiffs easily surpass the threshold of showing a likelihood of

success on the merits. On June 23, 2022, the U.S. Supreme Court drastically reshaped Second

Amendment jurisprudence in New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S.Ct.

2111 (Jun. 23, 2022). Bruen abrogated the use of tiers of “means-end” scrutiny – e.g., rational

basis, intermediate, and strict scrutiny – that American courts have habitually used to assess

Second Amendment rights claims and replaced it with a textual and historical analysis. The

reshaped analysis negates the use of the “means-end” scrutiny New York State Rifle and Pistol

Ass’n, Inc. v. Cuomo, 804 F.3d 242 (2d Cir. 2015) and Shew v. Malloy, 994 F.Supp.2d 234 (D.Conn.

2014) used to uphold Connecticut’s criminalization of “assault weapons,” and it requires a

fresh consideration of their ultimate conclusions under Bruen’s textual and historical analysis. 5

       While the Plaintiffs retain the initial burden to show either “likelihood of success on

the merits” or “sufficiently serious questions going to the merits to make them a fair ground


5 The Supreme Court itself has summarily instructed lower courts to reconsider decisions

upholding “assault weapons” bans in the wake of Bruen. See Bianchi v. Frosh, 142 S.Ct. 2898
(Mem) (Jun. 30, 2022) (reversing and remanding a Fourth Circuit decision upholding
Maryland’s “assault weapons” ban).
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for litigation” at this stage, Bruen’s textual and historical analysis shifts the burden to the

Defendants to defend their criminalization of “assault weapons” and their infringement on

the Plaintiffs’ constitutional rights. Under the Supreme Court’s new analytical framework, the

Defendants are unable to satisfy that burden.

       A. Bruen replaces the Second Circuit’s “two step” test with a textual and
          historical analysis under which the Defendants bear a heavy burden of proof.

       Bruen changed everything. Prior to Bruen, the Second Circuit used a “two-step” test. 6

Cuomo, 804 F.3d at 254. It first considered whether the challenged law “burdens conduct

protected by the Second Amendment.” Id. If the law did not implicate conduct that the Second

Amendment protects, the law survived. Id. If, however, the law burdened conduct protected

by the Second Amendment, courts then assessed the appropriate level of scrutiny to apply. Id.

       At the first step of the test, courts examined whether the arms at issue are “in common

use” and “typically possessed by law-abiding citizens for lawful purposes.” Id. at 254-55. In

Cuomo, the Second Circuit ruled that “assault weapons” met both criterion Id. at 255-57.

       Under the second step, pre-Bruen courts then assessed “how close the law comes to the

core of the Second Amendment right” and “the severity of the law’s burden on the right.” Id.

at 258. In Cuomo, the Second Circuit applied intermediate scrutiny and found that while New

York and Connecticut’s “assault weapons” bans did indeed burden the core of the Second

Amendment’s protections, alternatives to such firearms – namely handguns – remained

available for home defense. Id. at 258-261. Thus, the Second Circuit found the burden on the



6 As noted by the Second Circuit, it was not alone in applying the “two step” test. Cuomo, 804

F.3d at 254 (noting that the Third, Fourth, Fifth, Six, Seventh, Ninth, Tenth, Eleventh, and
D.C. Circuits also used the same general approach).
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Plaintiffs’ core of the Second Amendment right insufficiently severe to strike down New York

and Connecticut’s “assault weapons” bans. Id. at 261.

       Bruen explicitly rejects the “two step” test and “means-end” scrutiny previously used in

the Second Circuit as being inconsistent with District of Columbia v. Heller, 554 U.S. 570 (2008)

and McDonald v. City of Chicago, 561 U.S. 742 (2010):

       Despite the popularity of this two-step approach, it is one step too many. Step
       one of the predominant framework is broadly consistent with Heller, which
       demands a test rooted in the Second Amendment's text, as informed by history.
       But Heller and McDonald do not support applying means-end scrutiny in the
       Second Amendment context.

Bruen, 142 S.Ct. at 2127. Instead, Bruen holds that “the government must affirmatively prove

that its firearms regulation is part of the historical tradition that delimits the outer bounds of

the right to keep and bear arms.” Id. This, the Defendants cannot do.

       Bruen’s analysis starts with the Second Amendment’s text: 7 “[W]hen the Second

Amendment’s plain text covers an individual’s conduct, the Constitution presumptively

protects that conduct.” Id. at 2126. The Supreme Court explained: “Heller’s methodology

centered on constitutional text and history. Whether it came to defining the character of the

right (individual or militia dependent), suggesting the outer limits of the right, or assessing the

constitutionality of a particular regulation, Heller relied on text and history. It did not invoke

any means-end test such as strict or intermediate scrutiny.” Id. at 2128-29. As Bruen indicates,

the Second Amendment’s text and history left “no doubt” that the “Second Amendment




7 “A well regulated Militia, being necessary to the security of a free State, the right of the people

to keep and bear Arms, shall not be infringed.” U.S. Const. Amend. II.
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confers an individual right to keep and bear arms.” Id. at 2127 (quoting Heller, 554 U.S. at 595)

(internal quotation marks omitted).

       Bruen confirmed Heller’s finding that it is “fairly supported by the historical tradition of

prohibiting the carrying of dangerous and unusual weapons that the Second Amendment

protects the possession and use of weapons that are in common use at the time.” Id. at 2128

(quoting Heller, 554 U.S. at 627) (internal quotation marks omitted).

       In the context of this action, Bruen’s test is straightforward. First, the Court must

determine whether the right claimed by the Plaintiffs falls within the protections of the Second

Amendment’s text. Second, the Court must consider the “dangerous and unusual weapons”

exception within the historical guidelines established by Heller and Bruen.

        There is absolutely no question that the Plaintiffs meet the first requirement. They

claim a right to keep and bear modern sporting firearms for the purposes of self-defense. Both

Heller and Bruen establish that the Second Amendment’s text protects the individual right to

keep and bear arms in case of confrontation. Bruen, 142 S.Ct. at 2127; Heller, 554 U.S. at 592.

Bruen solidifies Heller’s holding that the Second Amendment’s protections do not apply “only

to those arms in existence in the 18th century.” Bruen, 142 S.Ct. at 2132 (quoting Heller, 554

U.S. at 582) (internal quotation marks and alterations omitted). Instead, “the Second

Amendment extends, prima facie, to all instruments that constitute bearable arms, even those

that were not in existence at the time of the founding.” Id. at 2132 (quoting Heller, 554 U.S. at

582) (internal quotation marks omitted); see also Caetano v. Massachusetts, 577 U.S. 411 (2016)

(holding that the Second Amendment, prima facie, protects stun guns). In Cuomo, the Second

Circuit determined that Connecticut’s “assault weapons” ban did indeed burden the core of


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the Second Amendment’s protections. Cuomo at 258-261. Thus, the Second Amendment

presumptively protects the Plaintiffs’ right to possess and bear modern sporting firearms --

including AR-15 platform firearms – and “others” unless the Defendants “affirmatively prove

that [their] firearms regulation is part of the historical tradition that delimits the outer bounds

of the right to keep and bear arms.” Bruen, 142 S.Ct. at 2127. Again, this is a burden the

Defendants cannot meet.

       The now-deceased “means-end” scrutiny test purported to give courts the power to

“make difficult empirical judgements about the cost and benefits of firearms restrictions…” –

judgments that they are ill-suited to make “especially given their lack of expertise in the field.”

Id. at 2130 (quoting City of Chicago v. McDonald, 561 U.S. 742, 790-791 (2010)) (internal

quotation marks and alterations markings omitted). Bruen now flatly forbids this type of

interest balancing:

       If the last decade of Second Amendment litigation has taught this Court
       anything, it is that federal courts tasked with making such difficult empirical
       judgments regarding firearm regulations under the banner of “intermediate
       scrutiny” often defer to the determinations of legislatures. But while that judicial
       deference to legislative interest balancing is understandable—and, elsewhere,
       appropriate—it is not deference that the Constitution demands here. The
       Second Amendment “is the very product of an interest balancing by the people”
       and it “surely elevates above all other interests the right of law-abiding,
       responsible citizens to use arms” for self-defense. Heller, 554 U.S. at 635, 128
       S.Ct. 2783. It is this balance—struck by the traditions of the American people—
       that demands our unqualified deference.

Id. at 2131 (emphasis in original).

       Instead, Bruen requires courts to assess “whether modern firearms regulations are

consistent with the Second Amendment’s text and historical understanding” through

“reasoning by analogy – a commonplace task for any lawyer or judge.” Id. at 2131, 2132. It


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contemplates two types of cases: straightforward cases, and “other cases implicating

unprecedented societal concerns or dramatic technological changes.” Id. at 2131-32.

       Bruen describes the straightforward cases as follows:

       For instance, when a challenged regulation addresses a general societal problem
       that has persisted since the 18th century, the lack of a distinctly similar historical
       regulation addressing that problem is relevant evidence that the challenged
       regulation is inconsistent with the Second Amendment. Likewise, if earlier
       generations addressed the societal problem, but did so through materially
       different means, that also could be evidence that a modern regulation is
       unconstitutional. And if some jurisdictions actually attempted to enact
       analogous regulations during this timeframe, but those proposals were rejected
       on constitutional grounds, that rejection surely would provide some probative
       evidence of unconstitutionality.

Id. at 2131.

       This case falls squarely within Bruen’s category of straightforward cases. Crimes

perpetrated with firearms have existed since firearms were invented. But it was not until long

after the Second Amendment was ratified that local governments began to ban whole

categories of firearms from the people under the guise of crime prevention. The Founders

knew well of the misuse of firearms by criminals, but their regulation to address that societal

problem was not to ban bearable arms from the public as Connecticut has done. To the

contrary, the Founders’ regulatory response – the Second Amendment – was to guarantee that

every law-abiding person in the nation had the uninfringed right to keep and bear arms for

their personal defense and the defense of others. There is no “distinctly similar historical

regulation addressing that problem. . . .” Id. Thus, Connecticut’s statutory scheme must fall.

       But even viewing Connecticut’s “assault weapon” ban under a more complex analysis,

it has no “well-established and representative historical analogue” to save it. Id. at 2133. When

a court considers the more complex “modern regulations that were unimaginable at the

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founding,” Bruen requires the Defendants to identify “a well-established and representative

historical analogue…” to its modern regulations. Id. at 2133. To determine whether the

analogue is representative and “relevantly similar under the Second Amendment,” Bruen

provides courts with “at least two metrics” that “are [the] central considerations when engaging

in an analogical inquiry” from Heller and McDonald: “how and why the regulations burden a

law-abiding citizen’s right to armed self-defense.” Id. at 2132-33 (internal quotation marks and

citations omitted) (emphasis in original).

       The Bruen analysis requires that the historical inquiry must focus on the scope of the

people’s constitutional rights “they were understood to have when the people adopted them.” Id. at

2136 (internal quotation marks and citations omitted) (emphasis in original). The Supreme

Court in Bruen cautioned courts to focus on common law practices that “prevailed up to the

period immediately before and after the framing of the Constitution” and contemporary

history in the immediate postenactment period. Id. at 2136-37 (internal quotation marks and

citations omitted). In particular, Bruen cautions courts “against giving postenactment history

more weight than it can rightly bear,” and it describes mid-to-late 19th century evidence as

confirmation of the original public meaning instead of being of independent significance. Id.

at 2136-37.

       Bruen closes its instructions on these more complex cases with two cautions to courts.

First, it expressly forbids courts from entertaining or engaging in “independent means-end

scrutiny under the guise of an analogical inquiry.” Id. at 2133 n.7. Second, while Bruen does not

require the Defendants to “identify… a historical twin” or “a dead ringer” as an historical

analogue, it also does not permit courts to “uphold every modern law that remotely resembles


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a historical analogue… because doing so risks endorsing outliers that our ancestors would

never have accepted.” Id. at 2133 (internal quotation marks, citations, and alteration marks

omitted) (emphasis in original).

       Here, there were simply no common law practices that “prevailed up to the period

immediately before and after the framing of the Constitution” and contemporary history in

the immediate postenactment period which is a “well-established and representative historical

analogue” to Connecticut’s ban on an entire category of bearable arms. Id. at 2136-37.

Connecticut’s “assault weapon” ban is unconstitutional.

       B. The modern sporting firearms banned by the Defendants are not
          “dangerous and unusual.”

       Because the firearms banned by the challenged statutory scheme, and “others” which

have unexpectedly been drawn into that scheme, are each in common use for lawful purposes

– both in Connecticut and nationwide – they cannot be found to be “dangerous and unusual.”

The “dangerous and unusual” exception to protection under the Second Amendment has its

roots in United States v. Miller, 307 U.S. 174 (1939). Miller permitted the felony indictment of

two men who transported a short-barreled shotgun across state lines without obtaining

permission from, or registering it with, federal authorities. Id. at 175. The district court

dismissed the indictment on the ground that the law violated the men’s Second Amendment

rights, and the government appealed. Id. at 176-77. The Supreme Court reversed the dismissal

of the indictment on the grounds that there was no evidence that short-barreled shotguns had

a reasonable relationship to “the preservation or efficiency of a well-regulated militia.” Id. at

178. It reasoned that the Second Amendment protected the arms that were “of the kind in



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common use at the time” and which citizens would bring with them if called upon to serve in

the militia. Id. at 179.

        Since Miller, the Supreme Court has only once clarified the “dangerous and unusual”

exception. See Caetano v. Massachusetts, 577 U.S. 411 (2016). In Caetano, the Court found “stun

guns” were protected arms under the Second Amendment, and corrected two fatal errors that

the Massachusetts Supreme Judicial Court made in labeling them as “dangerous and unusual”

weapons. Id. The first was the Massachusetts court’s erroneous conclusion that the Second

Amendment did not protect weapons that “were not in common use at the time of the Second

Amendment’s enactment.” Id. at 411-12 (reaffirming Heller’s statement that the Second

Amendment “extends… to… arms… that were not in existence at the time of the founding”)

(internal quotation marks and citations omitted). The second was the Massachusetts court’s

erroneous conclusion that the Second Amendment did not protect “stun guns” because

“nothing in the record [suggested] that [they] are readily adaptable to use in the military.” Id.

at 412 (reaffirming Heller’s rejection of that proposition) (internal quotation marks and

citations omitted).

        That a given class of firearms may be “dangerous” is irrelevant to a Second

Amendment analysis if it is commonly used for lawful purposes. Caetano at 418, (“the relative

dangerousness of a weapon is irrelevant when the weapon belongs to a class of arms

commonly used for lawful purposes.”) (Alito, J. concurring). The most relevant statistic for

finding electronic defense weapons are not “unusual” was that “hundreds of thousands of

Tasers and stun guns have been sold to private citizens, who it appears may lawfully possess




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them in 45 States.” Id. at 420 (Alito, J. concurring) (internal quotation marks, citations, and

alteration marks omitted).

       The Second Circuit has not exempted any class of firearms from Second Amendment

protection under Bruen’s “dangerous and unusual” analysis. 8 To the extent it addressed the

issue in Cuomo concerning Connecticut’s “assault weapons” ban, the Second Circuit

expressly held that, even accepting most conservative statistical estimates presented by the

parties and amici, 9 “assault weapons” are in common use. New York State Rifle and Pistol

Ass’n, Inc. v. Cuomo, 804 F.3d 242, 255 (2d Cir. 2015). The Second Circuit relied on a

conservative estimate that “assault weapons” constituted about two percent of the nation’s

firearms, or approximately seven million firearms. Id. at 255. On the basis of that estimate, the

Second Circuit held that “the assault weapons… at issue are ‘in common use’ as that

term was used in Heller.” Id. at 255.

       Despite the Supreme Court’s revised standard set forth in Bruen, there is no question

that the Second Circuit’s holding that “assault weapons” are not “unusual” remains good law

and is dispositive of this motion for a preliminary injunction – and this entire case – since the

Defendants bear the burden to prevail on both elements. A class of firearms cannot be

“dangerous and unusual” if it is not unusual. Thus, as long as the Plaintiffs make a showing of




8 The Second Circuit did not fully engage with the “dangerous” element, which it classified as

“typical possession.” Cuomo, 804 F.3d at 256-57. Instead, it assumed arguendo that these
“commonly used weapons and magazines are also typically possessed by law-abiding citizens
for lawful purposes” – an approach used by the D.C. Circuit and the D.C. district court after
the Supreme Court remanded Heller. Id. at 257.
9 Cuomo was clear that the “unusual” element requires “an objective and largely statistical

inquiry.” Id. at 256.
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common usage that at least approaches the two percent found in Cuomo, the Plaintiffs prevail

on the merits.

       In Connecticut and nationwide, both “assault weapons” and “others” are in common

use for lawful purposes as defined by the Second Circuit. Any inquiry into whether modern

sporting firearms are “unusual” begins with where they are legal. Caetano, 577 U.S. at 420

(2016) (Alito, J., concurring). Research reveals that only 9 states and the District of Columbia

prohibit their possession. 10 The class of firearms subject to the challenged law are legal to

freely buy, sell, and own in the remaining forty-one states. Thus, the overwhelming majority

of the states recognize that modern sporting firearms are not “dangerous and unusual,” and

the few states such as Connecticut that prohibit their possession are outliers.

       The second aspect of the “unusual” inquiry objectively examines the statistical data

supporting whether modern sporting firearms are in “common use.” Cuomo, 804 F.3d at 255-

56. While there is no minimum threshold of common usage that the Plaintiffs need to show,

they clearly surpass the “hundreds of thousands” finding that Justice Alito declared sufficient

in his Caetano concurrence regarding stun guns. More importantly, they at least equal or surpass

the threshold that the Second Circuit recognized as establishing “common usage.” Cuomo, 804

F.3d at 255 (relying on the most conservative estimates and still finding that “assault weapons”



10 California – see Cal. Penal Code §§ 16350, 16790, 16890, 30500-31115; Connecticut – laws

already discussed; Delaware – see Del. Code tit. 11, § 1466(a); Hawaii – see Haw. Rev. Stat. Ann.
§§ 134-1, 134-4, 134-8; Illinois – see IL HB 5471, enacted January 10, 2023; Maryland – see Md.
Code Ann., Crim. Law §§            4-301 – 4-306, Md. Code Ann., Pub. Safety § 5-101(r);
Massachusetts – see Mass. Gen. Laws ch. 140, §§ 121, 122, 123, 131M; New Jersey – see N.J.
Stat. Ann. §§ 2C:39-1w, 2C:39-5, 2C:58-5, 2C:58-12, 2C:58-13; New York – see N.Y. Penal
Law §§ 265.00(22), 265.02(7), 265.10, 400.00(16-a); DC Code Ann. §§ 7-2501.01(3A), 7-
2502.02(a)(6), 7-2505.01, 7-2505.02(a), (c)
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were in common use). The most conservative estimate as to the popularly of a single model

of modern sporting arm – the AR-15 – was “two percent of the nation’s firearms” or

“approximately seven million guns.” Id. at 255. Simply put, in the Second Circuit, two percent

or more clearly equals common use.

       Under an objective “unusual” inquiry, the Defendants’ own data dooms their case. In

a January 17, 2023 response to a Freedom of Information Act request, the SLFU declared that

there are 1,306,867 firearms in the state weapons registry database. Exhibit B, Affidavit of

Ray Bevis, Jr. ¶¶ 13, 14. In a January 10, 2020 response to a Freedom of Information Act

request, the SLFU declared that there are 53,849 “assault weapons” registered in Connecticut.

Id. at ¶¶ 7, 15. 53,849 “assault weapons” is approximately 4.1% of the 1,306,867 firearms in

the state weapons registry database, more than enough to show common use under Second

Circuit precedent. Id. at ¶¶ 7, 15.

       In its January 17, 2023 response, SLFU also declared that, of those 1,306,867 firearms,

there are 88,766 firearms in the state weapons registry database that are classified as “others.”

Id. at ¶¶ 13, 16. In other words, approximately 6.8 percent of Connecticut’s registered firearms

are “others,” which, based on Conn. Public Act No. 23-53, § 23, have suddenly become

“assault weapons” under Connecticut’s ban. Id. at ¶¶ 13, 16. That is more than three times the

percentage of firearms that Cuomo found to constitute “common use.”

       Collectively, these numbers become even worse for the Defendants. Since Conn.

Public Act No. 23-53, § 23 makes “others” “assault weapons,” this data shows that there are

currently at least 142,615 “assault weapons” lawfully owned by private individuals in

Connecticut. In other words, approximately 10.9 percent of Connecticut firearms are “assault


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weapons” – more than 5 times the percentage that the Second Circuit found to equate

to common usage.

        The Defendants fair no better when it comes to national data. According to production

and import/export data ranging from 1991-2018 compiled and estimated by the National

Shooting Sports Foundation (“NSSF”) based on the ATF’s Annual Firearms Manufacturing

and Export Report (“AFMER”), there are approximately 254,752,987 firearms in circulation

in the United States. Exhibit G – Declaration of Salam Fatohi, ¶¶ 6-7, 12. Approximately

24,446,000 of those firearms are modern sporting rifles. Id. at ¶ 17. In other words, an

estimated 10 percent of all firearms currently in circulation in the United States are modern

sporting rifles, a.k.a. “assault rifles.” Id. at pp. 2, 7. That is approximately five times the

percentage of the same type of firearms that Cuomo found to constitute “common

use.”

        Thus, there is absolutely no question that the firearms banned by the challenged

statutory scheme as “assault weapons” are in common use both in Connecticut and nationally,

as are “others” which have now been redefined as such. Therefore, both are protected by the

Second Amendment and neither can be considered “dangerous and unusual.”

III.    The Balance of Hardships Decidedly Tips in Favor of the Plaintiffs.

        On June 6, 2023, the Defendants suddenly stripped the Plaintiffs of their right to

purchase “others” on the grounds that they were “assault weapons.” Lost in this sudden

termination of their Second Amendment rights was any respect for the protections of the

Constitution. Connecticut law has succumbed to the political passions and hysteria led by

Defendant Lamont’s near-daily anti-constitutional rhetoric in the press. Individuals who


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violate Connecticut’s prohibition on the ownership of “assault weapons” can expect little

mercy or sympathy in Connecticut’s criminal justice system. The Plaintiffs, and tens of

thousands of law-abiding Connecticut residents now are at real and immediate risk of

Defendants’ enforcement actions if they attempt to obtain commonly used firearms that they

are constitutionally entitled to obtain.

        Any balancing of the equities does not require the Plaintiffs to sit in limbo on the pain

of felony criminal consequences while the Defendants trod the Plaintiffs’ constitutional rights

under foot. Nor does any balancing of equities justify withholding preliminary relief from the

Plaintiffs.

        More broadly speaking, Cuomo already made the necessary findings regarding the

common use of “assault weapons.” Cuomo, 804 F.3d at 255-56. Bruen’s elimination of the

second part of Cuomo’s analysis – the part that upheld Connecticut’s “assault weapons” ban

under the now-abrogated “two-part test” – did not change Cuomo’s findings on the first part

of the test. As soon as the Supreme Court issued its decision in Bruen, the findings in Cuomo

rendered Connecticut’s “assault weapons” ban unconstitutional.

        While the Court must presume in this case that the Plaintiffs will suffer irreparable harm,

Clapper, 804 F.3d at 622, the harm that they are suffering is actually irreparable, and the Court

should consider that in any balancing of the hardships. Every day that passes where the

Plaintiffs cannot purchase, keep, and bear modern sporting firearms places them at a

disadvantage to violent criminals who have no regard for the law and who may target them.

Every day that passes is a day the Plaintiffs’ ability to exercise their constitutional rights is lost

forever. The Court should decline to leave them so vulnerable.


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       For these reasons, the Court should find that the Plaintiffs are suffering irreparable

harm through the ongoing deprivation of their constitutional rights and that, after the Bruen

decision, Cuomo clearly establishes that Connecticut’s “assault weapons” ban is

unconstitutional. Based on that finding, the Court should find that the Defendants’ actions in

altering the status quo impose a far greater hardship on the Plaintiffs than any enjoining of the

laws that they complain of will impose on the Defendants.

IV.    The Public Interest Will be Served by a Preliminary Injunction.

       The Second Amendment is not a “second class right” and the Supreme Court has made

it abundantly clear that lower courts shall no longer treat it as such. McDonald, 561 U.S. at 780.

Courts can no longer interest balance away the people’s Second Amendment rights. The

Supreme Court stated in Bruen that “[t]he Second Amendment is the very product of an interest

balancing by the people and it surely elevates above all other interests the right of law-abiding,

responsible citizens to use arms for self-defense.” Bruen, 142 S.Ct. at 2131 (internal citations

and quotation marks omitted) (emphasis in original). Thus, it “demands” courts’ “unqualified

deference” to the Plaintiffs’ Second Amendment rights. Id. at 2131.

       The Defendants cannot shoehorn the commonly used firearms at issue in this action

into the “dangerous and unusual” exception. The Second Circuit in Cuomo has already

definitively settled that question. All that remains is for the Court to apply the Bruen standard

and protect the Plaintiffs from ongoing, and imminent irreparable harm by issuing a temporary

restraining order and a preliminary injunction.

       Since the Plaintiffs have shown that the Defendants are highly unlikely to carry their

burden in the face of Bruen and Cuomo, the Court’s issuance of preliminary injunctive relief


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would preserve the status quo and protect and uphold the public interest articulated in the

Second Amendment. At the same time, it would not disturb other Connecticut laws that, for

example, screen who may purchase or possess a firearm. Thus, the public interest favors

preliminary relief in this case.

                                         CONCLUSION

          For all of the aforementioned reasons, the Plaintiffs respectfully ask the Court to issue

a Preliminary Injunction enjoining the Defendants and those under them from enforcing

Connecticut’s “assault weapon” ban pending full adjudication on the merits of the Plaintiffs’

claims.




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Dated: July 5, 2023

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                             CERTIFICATION OF SERVICE

       The undersigned hereby certifies that, on the foregoing date, a copy of the foregoing

was filed electronically and served by mail on anyone unable to accept electronic filing. Notice

of this filing will be sent by email to all parties and counsel of record who have appeared by

operation of the Court’s electronic filing system or by mail to anyone unable to accept

electronic filing. Parties may access this filing through the Court’s system.

                                /s/ Cameron L. Atkinson /s/




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